    Case: 1:19-cv-07301 Document #: 57 Filed: 01/11/21 Page 1 of 2 PageID #:418




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Fox Valley & Vicinity Construction Workers           )
Welfare Fund, et al.,                                )
             Plaintiffs,                             )
                                                     )       No. 19 C 7301
       v.                                            )
                                                     )       Judge Ronald A. Guzmán
Abari Construction, Inc.,                            )
             Defendant.                              )


                         MEMORANDUM OPINION AND ORDER

         For the reasons stated below, Plaintiffs’ motion for summary judgment [42] is granted as
to liability. A genuine issue of material fact exists as to the amounts due. The parties shall file
a statement no later than January 22, 2021 indicating how they propose the Court should
proceed.

                                         STATEMENT

        Plaintiffs filed the instant action to recover from Defendant alleged unpaid contributions
pursuant to the relevant collective bargaining agreement and ERISA. Defendant does not
challenge liability but only certain amounts due. First, Defendant asserts that a $50,000.00
payment by a third-party surety on Defendant’s behalf should reduce the amount of contributions
due. In their reply, Plaintiffs agree, so the amount sought by Plaintiffs has been reduced by
$50,000.00. Defendant further asserts that the liquidated damages and interest amounts due
should be recalculated based on the $50,000.00 payment. But “[c]ontrolling case law makes it
clear that a pension fund’s right to collect penalties for late payment is not extinguished by an
employer’s payment of those obligations.” Bridge v. Transpersonnel, Inc., No. 03 C 2437, 2004
WL 2034075, at *4 (N.D. Ill. Sept. 10, 2004). There is no dispute that the $50,000.00 payment
was received after the suit was filed.

        Defendant also argues that the amount of contributions due for May 2019 should be
$5,191.24, not $5,291.24, as asserted by Plaintiffs. Defendant points to a May 1, 2019 letter
from Plaintiffs stating that Defendant should “take a credit in the amount of $100.00 on your
next report” due to an overpayment by Defendant. (Def.’s Ex. A-3, Dkt. # 49, at 16.) Plaintiffs
agree that the $100.00 credit is accurate and have applied it to the final amount due. (Dorfman
Supp. Aff., Dkt. # 55-1, ¶ 6.)

       Finally, Defendant challenges the contribution amounts Plaintiffs allege are due for hours
worked by employees L. Geschke and R. Stephens in September 2019. According to the
contribution report attached to the affidavit provided by Defendant from Roberta DiGioa,
    Case: 1:19-cv-07301 Document #: 57 Filed: 01/11/21 Page 2 of 2 PageID #:419




Defendant’s administrative assistant, Geschke worked and payments were made for a total of
114 hours in September 2019. (DiGioa Aff., Def.’s Ex. A-2, ¶¶ 7-10.) Plaintiffs’ audit records
show, however, that only 105.5 hours were reported and paid on Geschke’s behalf to Plaintiffs.
A genuine issue of material fact exists regarding the hours reported and contributions paid for
work performed by Geschke in September 2019; accordingly, summary judgment on this aspect
of the claim is denied. Plaintiffs also argue that .5 hours of double time worked by employee
Stephens in September 2019 were not reported and applicable contributions not paid. DiGoia’s
affidavit fails to address Stephens at all; thus, Defendant has failed to create a genuine issue of
material fact with respect to the .5 hours of double time worked by Stephens, and contributions
are owed on that time.

      Because a genuine issue of material fact exists as to the contributions due for hours
worked by Geschke in September 2019, Plaintiffs’ motion for summary judgment on the
amounts due is denied.



Date: January 11, 2021                               ___________________________
                                                     Ronald A. Guzmàn
                                                     United States District Judge




                                                 2
